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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


TIKEILA RUCKER,
RACHAEL SPRIGGS,
DAMON CURRY-MORRIS,
AMBER SHERMAN, and
LAJUANA ABRAHAM,

       Plaintiffs,


vs.                                                           Case No. 2:23-cv-2358-SHL-cgc

SHELBY COUNTY BOARD OF EDUCATION,

       Defendant.



                        NOTICE OF SETTLEMENT
______________________________________________________________________

       Pursuant to Federal Rules of Civil Procedure and Local Rules, upon stipulation of the

parties, through their respective attorneys, they hereby notify the Court that all claims filed by the

Plaintiffs have been resolved. The parties will submit a Stipulation of Dismissal with Prejudice

within the prescribed time period.

                                       Respectfully submitted,

                                       SPENCE PARTNERS

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